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VAN−039 Statement of Presumed Abuse − Rev. 03/24/2014

                             UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                        Greenville Division

IN RE:
Julie Ann Lee                                                    CASE NO.: 18−04971−5−JNC
( debtor has no known aliases )
205 Wildcat Road                                                 DATE FILED: October 10, 2018
Edenton, NC 27932
                                                                 CHAPTER: 7




                                          STATEMENT OF PRESUMED ABUSE

As required by 11 U.S.C. Sec. 704(b)(1)(A), the Bankruptcy Administrator has reviewed all of the materials
filed by the debtor(s). Having considered these materials in reference to the criteria set forth in 11 U.S.C.
Sec. 707(b)(2)(A), and pursuant to 11 U.S.C. Sec. 704(b)(2), the Bankruptcy Administrator determines
that: (1) the debtor's case should be presumed to be an abuse under section 707(b); and (2) the product of
the debtor's current monthly income, multiplied by 12, is not less than the requirements specified in section
704(b)(2)(A) or (B); or (3) the debtor has not filed or transmitted all of the required means testing
documents.

As required by 11 U.S.C. Sec. 704(b)(2) the Bankruptcy Administrator shall, not later than 30 days after
the date of this statement's filing, either file a motion to dismiss or convert under section 707(b) or file a
statement setting forth the reasons the Bankruptcy Administrator does not consider such a motion to be
appropriate. Debtor(s) may rebut the presumption of abuse only if special circumstances can be
demonstrated as set forth in 11 U.S.C. Sec. 707(b)(2)(B).

Dated: November 19, 2018

                                                                 Stephanie J. Butler
                                                                 Clerk of Court
